











Opinion issued May 21, 2009








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;



In The
Court of Appeals
For The
First District of Texas




NO. 01-02-00547-CV




MABEL GAMBARELLI GOLD and RONALD E. GOLD, Appellants

V.

MARLENE J. CARLILE, CHRISTOPHER CARLILE, DIRECT
WORLDWIDE LOGISTICS, INC., DIRECT GLOBAL SHIPPING CO.,
INC., MMQ L.L.C., HOUSTON EXOTIC RENTAL CARS, INC., and
HOUSTON EXOTIC RENTAL CARS, L.L.C., Appellees




On Appeal from the 113th District Court
Harris County, Texas
Trial Court Cause No. 0157295




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On July 31, 2003, this Court abated this appeal because one or more of the
parties to the appeal, who was a defendant in the trial court, filed a suggestion of
bankruptcy.



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Through the Public Access to Court Electronic Records (PACER) system, the
Court has learned that the final decree was issued and the bankruptcy proceedings
were closed on January 25, 2007.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On March 31, 2009, the Clerk of this Court sent notice to all parties that unless
within 20 days any party to the appeal filed a motion to retain the appeal, this appeal
would be reinstated and dismissed for want of prosecution.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We received no response to this letter.  Therefore, we lift the abatement and
reinstate the appeal, and we dismiss this appeal for want of prosecution.  See Tex. R.
App. P. 42.3 (b) (providing that appellate courts may dismiss appeal for want of
prosecution after giving 10 days’ notice to all parties).  Any pending motions are
dismissed as moot.
PER CURIUM

Panel consists of Justices Keyes, Hanks, and Bland.
Do not publish.  Tex. R. App. P. 47.


